      Case 24-12778        Doc 10      Filed 08/30/24 Entered 08/30/24 07:42:33                 Desc Pay Filing
                                         Fee Installments Page 1 of 1
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                                    UNITED STATES BANKRUPTCY COURT
                                          Northern District of Illinois
                                               Eastern Division
                                               219 S Dearborn
                                                  7th Floor
                                              Chicago, IL 60604

                                                 Case No.: 24−12778
                                                     Chapter: 13
                                              Judge: Timothy A. Barnes

In Re:
   Jomekia Davis
   151 Rice Avenue
   Bellwood, IL 60104
Social Security / Individual Taxpayer ID No.:
   xxx−xx−1234
Employer Tax ID / Other nos.:


                NOTICE OF ORDER APPROVING PAYMENT OF FILING FEE IN INSTALLMENTS


After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A), the
court orders that:

       The debtor(s) may pay the filing fee in installments on the terms proposed in the application.


Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any additional
property to an attorney or to anyone else for services in connection with this case.




                                                             BY THE COURT

Dated: August 30, 2024                                       Jeffrey P. Allsteadt , Clerk
                                                             United States Bankruptcy Court
